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                                                  450 5th Street, N.W.
                                                  Washington, DC 20530




                                                  July 24, 2024


   Via ECF

   The Honorable Julien X. Neals, U.S.D.J.
   United States District Court
   District of New Jersey
   Martin Luther King Building & U.S. Courthouse
   50 Walnut Street
   Newark, NJ 07101

                 Re:     United States v. Apple, No. 24-cv-04055 (D.N.J.) (JXN-LDW)
                         Stipulation and [Proposed] Order re Briefing Schedule on Motion
                         to Dismiss First Amended Complaint

   Dear Judge Neals:

          In accordance with the Court’s order (ECF No. 79), the parties respectfully submit
   the accompanying Stipulation and [Proposed] Order re Briefing Schedule on Motion to
   Dismiss First Amended Complaint.


                                                  Respectfully submitted,

                                                  s/ Jonathan H. Lasken
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                                                  s/ J. Andrew Ruymann
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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

    UNITED STATES OF AMERICA et al.,

                   Plaintiff,
                                                      Case No. 2:24-cv-04055-JXN-LDW
           v.

    APPLE INC.
                   Defendants.

                                 CERTIFICATE OF SERVICE

          I hereby certify that the above letter and this Certificate of Service were served

   upon defendant’s counsel, Liza M. Walsh, Esq., Craig S. Primis, Esq., Devora W. Allen,

   Esq., and K. Winn Allen, Esq., 1301 Pennsylvania Avenue, NW, Washington, D.C.,

   20004, by CM/ECF on July 24, 2024.



                                                        s/ Jonathan Lasken
                                                        JONATHAN LASKEN
                                                        Assistant Chief
                                                        Civil Conduct Task force
                                                        United States Department of Justice
                                                        Antitrust Division
                                                        Attorney for Plaintiff United States
